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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

UNITED STATES OF AMERICA

        - vs. -
                                                  Case No. 19-CR-227-LJV
JOSEPH BONGIOVANNI,

                  Defendant.


          DEFENDANT JOSEPH BONGIOVANNI’S OPPOSITION
      TO GOVERNMENT’S EX PARTE MOTION TO INTERVIEW JUROR

      Defendant Joseph Bongiovanni, by and through undersigned counsel, hereby

responds in opposition to the ex parte nature of the government’s sealed motion to

interview a juror. ECF No. 890.

      On Thursday, April 25, 2024, the government filed an ex parte sealed motion

to interview a juror, which was granted by text order the next day but stayed

pending resolution of an emergency motion filed by Mr. Bongiovanni. ECF Nos.

890, 891 (text order), 893, 895 (text order). The ex parte nature of the government’s

filing has deprived the defense of the reason for the government’s request, the

juror(s) to whom the request is directed, and the facts underlying the request. The

defense therefore opposes the ex parte nature of the request.

      Federal Rule of Criminal Procedure 606(b) sets forth a general prohibition on

juror testimony about deliberations, with limited exceptions set forth in subdivision

(2) that deal with improper influence upon the jury or whether a mistake was made

in filling out the verdict form. See United States v. Moten, 582 F.2d 654, 665 (2d

Cir. 1978) (“[M]any of the same interests are implicated in both situations [of post-
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trial interviewing of jurors and admission of juror testimony in order to impeach a

verdict], and so the same sort of balancing is appropriate to both.”); United States v.

Gigante, 53 F. Supp. 2d 274, 276 (E.D.N.Y. 1999) (“Rule 606(b) embodies a strong

policy to protect jurors against any attempt to interfere with their independence.”).

             An additional factor which must be considered here is one
             which is seldom a matter of concern in the formulation of
             evidentiary rules. Human nature is such that some jurors,
             instead of feeling harassed by post-trial interviewing,
             might rather enjoy it, particularly when it involves the
             disclosure of secrets or provides an opportunity to express
             misgivings and lingering doubts. A serious danger exists
             that, in the absence of supervision by the court, some
             jurors, especially those who were unenthusiastic about the
             verdict or have grievances against fellow jurors, would be
             led into imagining sinister happenings which simply did
             not occur or into saying things which, although
             inadmissible, would be included in motion papers and
             would serve only to decrease public confidence in verdicts.
             Thus, supervision is desirable not only to protect jurors
             from harassment but also to insure that the inquiry does
             not range beyond subjects on which a juror would be
             permitted to testify under Rule 606(b).

Moten, 582 F.2d at 665.

      The Second Circuit has declined to set forth rigid rules for post-verdict

interrogation of jurors but has commented that “[a]t a minimum, [. . .] notice to

opposing counsel and the court should be given in all cases.” Id. at 665-66. Of

relevance here is the Second Circuit’s further recognition that some situations

warrant a complete bar on juror interviews:

             An example given in Professor Moore’s Treatise is “a
             publicized case which ends in a hung jury and is likely to
             be retried.” In such a case, “the trial judge should instruct
             jurors not to disclose the deliberation, lest it jeopardize the
             fairness of the second trial.”

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Id. at 666 (quoting 8A Moore’s Federal Practice Criminal Rules P 31.08(1) (b), at 31-

58 n.13 (2d ed. 1977)).

      “ ‘The standard for conducting a post-verdict jury inquiry ... is ... demanding.’

As the Second Circuit has cautioned, ‘post-verdict inquiries may lead to evil

consequences: subjecting juries to harassment, inhibiting juryroom deliberation,

burdening courts with merit less applications, increasing temptation for jury

tampering and creating uncertainty in jury verdicts.’ Courts should therefore be

reluctant to ‘haul jurors in after they have reached a verdict in order to probe for

potential instances of bias, misconduct or extraneous influences.’ Accordingly, a

post-verdict jury inquiry is required only where there is ‘clear, strong, substantial

and incontrovertible evidence that a specific, non-speculative impropriety has

occurred.’ ” United States v. Yeagley, 706 F. Supp. 2d 431, 433 (S.D.N.Y. 2010)

(internal citations omitted).

      Mr. Bongiovanni’s highly publicized trial ended in a partial verdict, with a

mistrial being declared on twelve (12) of the fifteen (15) counts brought to trial. See

ECF No. 867 (minute entry). The government has announced its intention to retry

Mr. Bongiovanni, both informally via an out-of-court statement by the United

States Attorney, and formally via the filing of a motion to set a trial date. ECF No.

881. This outcome and the resulting circumstances counsel in favor of applying

Moten’s guidance on a total bar on juror interviews. If, however, the government

believes a situation invoking Rule 606(b)(2) is at play, the defense should be entitled

to equal notice of the allegation giving rise to the request to interview, and the

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Court should carefully circumscribe the process to ensure it does not spill into

impermissible inquest into the general nature of the deliberations. See Moten, 582

F.2d at 660 (“Whenever something occurs at a trial that may tend to affect the

impartiality of one or more members of the jury, both sides have a vital interest in

learning everything there is to know about the matter.”). But without access to the

filing, the defense cannot ascertain what gives rise to the request, whether it meets

the strict standard for post-verdict inquiry, and what safeguards should be

employed to ensure the inquiry is appropriately limited.

      Accordingly, Mr. Bongiovanni opposes the ex parte nature of the

government’s filing and requests the Court order disclosure of the ex parte motion

papers.

Dated: April 27, 2024
       Kenmore, New York                     Respectfully submitted,

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